
Action for an accounting. Order denying plaintiff’s motion to strike out paragraphs 7, 15, 24, 25, 30 and 31 of defendant Burnstine’s answer, pursuant to rules 102 and 103, Rules of Civil Practice, in so far as appealed from, affirmed; order denying motion of the impleaded defendant Ceeile Geist to dismiss the counterclaim pleaded against her in defendant Burnstine’s answer affirmed; and order denying motion of the impleaded defendant Hetter to dismiss the counterclaim *734pleaded against Mm in defendant Burnstine’s answer affirmed, with one bill of ten dollars costs and disbursements to defendant Burnstine, payable by the appellants jointly. The time of plaintiff to serve an amended complaint and the time of the impleaded defendants to serve an answer to the counterclaim is extended until ten days after the entry of the order hereon. No opirnon. Lazansky, P. J., Carswell, Johnston, Adel and Taylor, JJ., concur.
